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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  SARAH VARGAS,                           )    CIVIL NO. 19-00116 LEK-WRP
                                          )
               Plaintiff,                 )    ORDER GRANTING IN PART
                                          )    AND DENYING IN PART
        vs.                               )    DEFENDANTS CITY AND
                                          )    COUNTY OF HONOLULU AND
  CITY AND COUNTY OF                      )    THAYNE COSTA’S FRCP RULE
  HONOLULU, DAVID OH,                     )    37 MOTION FOR SANCTIONS
  CORPORAL COSTA, DOES 1-100,             )    AGAINST PLAINTIFF FOR
                                          )    VIOLATION OF THE
               Defendants.                )    STIPULATED PROTECTIVE
                                          )    ORDER
                                          )


          ORDER GRANTING IN PART AND DENYING IN PART
    DEFENDANTS CITY AND COUNTY OF HONOLULU AND THAYNE
      COSTA’S FRCP RULE 37 MOTION FOR SANCTIONS AGAINST
  PLAINTIFF FOR VIOLATION OF THE STIPULATED PROTECTIVE ORDER

              Before the Court is Defendants City and County of Honolulu and

 Thayne Costa’s FRCP Rule 37 Motion for Sanctions Against Plaintiff for Violation

 of the Stipulated Protective Order filed on June 17, 2020 (Motion). See ECF No.

 163. Plaintiff filed her Opposition on July 6, 2020. See ECF No. 146. Defendants

 filed their Reply on July 20, 2020. See ECF No. 176. The Court elects to decide

 this matter without a hearing pursuant to Rule 7.1(c) of the Local Rules of Practice

 for the United States District Court for the District of Hawaii and vacates the

 hearing set for August 6, 2020.
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              As discussed in detail below, the Court GRANTS IN PART AND

 DENIES IN PART the Motion.

                                   BACKGROUND

              In this litigation, Plaintiff alleges that she was sexually assaulted by

 Defendant David Oh, an Officer with the Honolulu Police Department, while he

 was on duty and responding to a 911 call at Plaintiff’s home. See ECF No. 38.

 Defendant Costa also responded to the 911 call at Plaintiff’s home on the night of

 the alleged sexual assault. See ECF No. 38 ¶ 24. Defendant City and County of

 Honolulu employed both Defendant Oh and Defendant Costa. See id.

              The present dispute involves compliance with the Stipulated

 Protective Order, filed on January 15, 2020. See ECF No. 99. The Stipulated

 Protective Order gives the parties the right to designate as “confidential” any

 document produced in discovery that contained “personal and/or confidential

 information.” Id. at 1-2. All documents designated as “confidential” are not to be

 used or disclosed “for any purpose whatsoever other than to conduct discovery,

 prepare motions, oppositions, replies and trial in this action.” Id. at 2. If a party

 wants to file any “confidential” document in support of a motion, the Stipulated

 Protective Order requires the filing party to file a motion to seal seeking leave to

 file the “confidential” documents under seal. Id. at 7-8. The Stipulated Protective

 Order prohibits the disclosure of “confidential” documents “to any third persons or

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 entity (specifically including the media).” Id. at 3. “Confidential” documents can

 only be disclosed to a limited group of people, including the parties, counsel and

 counsel’s employees, consultants and experts, the court, and certain witnesses. See

 id. at 3-4. Any party contending that material designated as “confidential” is not

 actually “confidential” is required to meet and confer with the producing counsel

 before filing a motion to challenge the designation. See id. at 6.

              In the current Motion, Defendants contend that Plaintiff’s counsel

 violated the Stipulated Protective Order on several occasions and ask the Court to

 sanction Plaintiff by striking the documents at issue, prohibiting Plaintiff from

 using the documents at trial, ordering Plaintiff’s counsel to remove social media

 posts related to the documents at issue, and awarding reasonable attorney’s fees

 and costs. See ECF No. 163-1.

                                    DISCUSSION

              Pursuant to Federal Rule of Civil Procedure 37, the Court may issue

 various sanctions for a party’s failure to obey a discovery order like the Stipulated

 Protective Order at issue here. See Fed. R. Civ. P. 37(b)(2). This authority

 includes imposing a “sanction of reasonable expenses, including attorney’s fees,

 caused by the failure to obey a discovery order.” Harmon v. City of Santa Clara,

 323 F.R.D. 617, 626 (N.D. Cal. 2018) (quoting Falstaff Brewing Corp. v. Miller

 Brewing Co., 702 F.2d 770, 784 (9th Cir. 1983)); see also Fed. R. Civ. P.

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 37(b)(2)(C) (providing that “[i]nstead of or in addition to” other sanctions, “the

 court must order the disobedient party, [their attorney], or both to pay the

 reasonable expenses, including attorneys’ fees, caused by the failure, unless the

 failure was substantially justified or other circumstances make an award of

 expenses unjust”). “Rule 37(b) sanctions may serve either remedial and

 compensatory purposes or punitive and deterrent purposes,” but ultimately, “[t]he

 imposition and selection of particular sanctions are matters left to the sound

 discretion of the trial court.” Id. (quoting Falstaff Brewing, 702 F.2d at 783-84).

              I. Undisputed Facts

              The parties do not dispute the facts underlying this dispute. In their

 Motion, Defendants ask the Court to sanction Plaintiff based on Plaintiff’s

 counsel’s actions related to two documents: (1) a transcript of the 2018

 predetermination hearing before the Honolulu Police Commission regarding

 Defendant David Oh (2018 Oh Transcript); and (2) the declaration of Nickolas A.

 Sensley (Sensley Declaration).

              Regarding the 2018 Oh Transcript, this document was produced in

 discovery by Defendants and was designated as “confidential” pursuant to the

 Stipulated Protective Order. On February 28, 2020, Plaintiff filed two copies of

 the 2018 Oh Transcript on the public docket. See ECF Nos. 120-1 at 5-22; ECF

 No. 122-2 at 36-55. Although Plaintiff filed a motion to seal a different Honolulu

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 Police Commission transcript related to Defendant Oh from 2019 (2019 Oh

 Transcript), see ECF No. 123, Plaintiff did not seek to file the 2018 Oh Transcript

 under seal.

               Regarding the Sensley Declaration, Plaintiff filed two copies of this

 declaration on the public docket in support of her opposition to Defendants’

 motions for summary judgment on February 28, 2020. See ECF Nos. 120-2; ECF

 No. 122-2. The Sensley Declaration included information taken from documents

 that were designated as confidential by Defendants. Specifically, the Sensley

 Declaration quoted the 2019 Oh Transcript that Plaintiff had requested to file under

 seal and discussed other documents that had been designated as confidential related

 to Defendant Oh. See id. ¶¶ 13, 25, 30, 31. Plaintiff also filed the Sensley

 Declaration a third time on the public docket in support of her opposition to

 Defendants’ motion to strike on March 23, 2020. See ECF No. 145-13.

               Further, on June 8, 2020, Plaintiff’s counsel sent a letter to the Mayor

 of Honolulu regarding the confirmation of police commissioners, which quoted the

 Sensley Declaration and included a citation to this case, including the docket

 number of Sensley Declaration. See ECF No. 171-2. On the same day, Plaintiff’s

 counsel posted a copy of his letter to the Mayor of Honolulu in a Facebook post

 and encouraged another Facebook user to share his post. See ECF No. 163-4; ECF

 No. 163-2 ¶¶ 10-12.

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              Defendants’ counsel contacted Plaintiff’s counsel regarding the

 Sensley Declaration on June 16, 2020. See ECF No. 171-1 ¶ 7. Plaintiff’s counsel

 immediately removed references to the Sensley Declaration from his social media

 posts. See ECF No. 171-1 ¶ 8. On June 17, 2020, Plaintiff filed an Emergency

 Motion to Redact Declaration and Leave to File Under Seal asking the court to

 remove the publicly filed Sensley Declaration and to replace it with a redacted

 version that sealed four paragraphs of the Sensley Declaration. See ECF Nos. 162,

 162-1. On June 22, 2020, the district court denied Plaintiff’s motion because

 Plaintiff had failed to establish compelling reasons to seal the relevant portions of

 the Sensley Declaration. See ECF No. 168. The court reasoned that Mr. Sensley is

 outside of the employment dispute between Defendant Oh and the Defendant City

 and County of Honolulu, Mr. Sensley’s statements about the 2019 Oh Transcript

 had been a part of the publicly available record in this case for more than three

 months, Defendant Oh’s employment with the Honolulu Police Department has

 been terminated, and there was no evidence that Mr. Sensley’s statements about

 the 2019 Oh Transcript would affect Defendant Oh’s rights. See id.

              II. Violations of the Stipulated Protective Order

              Based on the undisputed facts, the Court finds that Plaintiff’s counsel

 violated the terms of the Stipulated Protective Order when he twice filed the 2018

 Oh Transcript on the public docket and when he filed the Sensley Declaration on

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 the public docket three times. However, the Court finds that Plaintiff’s counsel did

 not violate the Stipulated Protective Order when he quoted a portion of the Sensley

 Declaration in his letter to the Mayor of Honolulu or when he posted a copy of that

 letter on Facebook.

              First, there is no dispute that the 2018 Oh Transcript was designated

 “confidential” under the Stipulated Protective Order and that Plaintiff did not

 challenge this designation with Defendants or with the Court. The Stipulated

 Protective Order expressly provides that a party who wants to file a “confidential”

 document in support of a motion must first seek leave to file the “confidential”

 documents under seal. See ECF No. 99 at 7-8. Plaintiff did not file a motion

 seeking leave to file the 2018 Oh Transcript under seal and instead filed the 2018

 Oh Transcript on the public docket two times, which violated the terms of the

 Stipulated Protective Order.

              Second, there is no dispute that portions of the Sensley Declaration

 quoted the 2019 Oh Transcript, which was designated confidential and filed under

 seal at Plaintiff’s request, and discussed other documents that had been designated

 as confidential related to Defendant Oh. See ECF No. 120-2 ¶¶ 13, 25, 30, 31;

 ECF No. 122-2 ¶¶ 13, 25, 30, 31. Plaintiff filed the Sensley Declaration on the

 public docket three times without first seeking leave to file the confidential

 portions under seal, which violated the terms of the Stipulated Protective Order.

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              Third, although Plaintiff’s letter to the Mayor of Honolulu quoted the

 Sensley Declaration, it did not quote a portion of the Sensley Declaration that

 contained “confidential” information or revealed information from “confidential”

 documents. See ECF No. 171 (quoting the first sentence of paragraph 31 and the

 second sentence of paragraph 32 of the Sensley Declaration). The portion of the

 Sensley Declaration quoted in Plaintiff’s letter does not reference the 2019 Oh

 Transcript or any other document designated “confidential” by Defendants.

 Although the Stipulated Protective Order prohibits the disclosure of “confidential”

 documents “to any third persons or entity (specifically including the media)” and

 limits the use of “confidential” documents to this litigation, see ECF No. 99 at 3,

 Plaintiff did not disclose or use the portions of the Sensley Declaration that

 referenced and quoted “confidential” documents. Plaintiff’s counsel did not

 violate the terms of the Stipulated Protective Order by quoting the Sensley

 Declaration in his letter to the Mayor of Honolulu.

              Fourth, for the same reasons, the Court finds that Plaintiff’s counsel

 did not violate the Stipulated Protective Order when he posted a copy of his letter

 on Facebook. Plaintiff did not disclose or use the portions of the Sensley

 Declaration that referenced and quoted “confidential” documents in his letter.

 Accordingly, Plaintiff’s counsel did not violate the Stipulated Protective Order by

 posting a copy of his letter on Facebook.

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              III. Appropriate Sanctions

              Defendants ask the Court to sanction Plaintiff by striking the

 documents at issue from the record, prohibiting Plaintiff from using the documents

 at trial, ordering Plaintiff’s counsel to remove social media posts related to the

 documents at issue, and awarding reasonable attorney’s fees and costs. See ECF

 No. 163-1. As discussed below, the Court finds that Defendants’ requested

 sanction are not appropriate and instead issues a formal warning to Plaintiff’s

 counsel as sanction for his violations of the Stipulated Protective Order.

              First, Defendants ask the Court to strike the 2018 Oh Transcript and

 the Sensley Declaration from Plaintiff’s oppositions to Defendants’ motions for

 summary judgment. The Court finds that this request is moot because the district

 court has already issued its decision on the motions for summary judgment. See

 ECF No. 170.

              Second, the Court declines to prohibit Plaintiff from using the 2018

 Oh Transcript and the Sensley Declaration at trial. Generally, preclusive sanctions

 are appropriate where discovery or evidence has been withheld from the other

 party. See, e.g., Dey, L.P. v. Ivax Pharm., Inc., 233 F.R.D. 567, 571 (C.D. Cal.

 2005). Here, precluding Plaintiff from using the documents at issue at trial bears

 no rational relationship to Plaintiff’s counsel’s violation of the Stipulated

 Protective Order and would not “hold the scales of justice even.” See Grimes v.

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  City & Cty. of San Francisco, 951 F.2d 236, 240-41 (9th Cir. 1991) (quoting C.

  Wright & A. Miller, Federal Practice and Procedure: Civil § 2284 (1970 & Supp.

  1988)).

               Third, the Court denies Defendants’ request to order the removal of

  Plaintiff’s counsel’s social media posts because, as discussed above, Plaintiff’s

  counsel’s posts did not violate the terms of the Stipulated Protective Order.

               Fourth, regarding Defendants’ request for an award of reasonable

  attorneys’ fees and costs, under Rule 37(b), instead of or in addition to other

  sanctions, “the court must order the disobedient party, the attorney advising that

  party, or both to pay the reasonable expenses, including attorney’s fees, caused by

  the failure.” Fed. R. Civ. P. 37(b)(2)(C). However, the Court must not award

  reasonable expenses if the failure was “substantially justified,” or “other

  circumstances made an award of expenses unjust.” Id.

               Here, the Court finds that Plaintiff’s counsel’s failure to comply with

  the Stipulated Protective Order was not substantially justified. Plaintiff bears the

  burden of establishing that the conduct was substantially justified. See Yeti by

  Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106–07 (9th Cir. 2001);

  Hyde & Drath v. Baker, 24 F.3d 1162, 1171 (9th Cir. 1994) (“Under Rule 37(b)(2),

  . . . the burden of showing substantial justification and special circumstances is on

  the party being sanctioned.”). Substantial justification requires a showing that the

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  discovery conduct has “a reasonable basis in both law and fact.” Pierce v.

  Underwood, 487 U.S. 552, 565 (1988). The discovery conduct must meet “the

  traditional reasonableness standard—that is justified in substance or in the main, or

  to a degree that could satisfy a reasonable person.” Id. (internal quotations

  omitted). Reasonable people could not differ on whether Plaintiff’s counsel’s

  failure to comply with the Stipulated Protective Order was justified. The

  Stipulated Protective Order clearly states that if a party wants to use a document

  designated “confidential” in support of a motion that party must seek leave to file

  the document under seal. See ECF No. 99 at 3. The 2018 Oh Transcript was

  designated “confidential” by Defendants and is marked at the bottom of each page

  as “CONFIDENTIAL--PURSUANT TO STIPULATED PROTECTIVE ORDER.”

  See ECF Nos. 120-1 at 5-22; ECF No. 122-2 at 36-55. Additionally, portions of

  the Sensley Declaration quote the 2019 Oh Transcript, which was similarly

  designated and marked, and which Plaintiff appropriately requested to file under

  seal in conjunction with Plaintiff’s opposition. See ECF No. 139-1. The Court is

  unpersuaded by Plaintiff’s counsel’s argument that the Stipulated Protective Order

  unfairly placed the burden on Plaintiff regarding “confidential” documents. See

  ECF No. 171 at 6-7; ECF No. 171-1 ¶ 10. Plaintiff’s counsel did not even attempt

  to comply with the Stipulated Protective Order as to these two documents.

  Plaintiff’s counsel did not challenge the designations with Defendants or with the

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  Court and did not file a motion to seal these documents. Further, Plaintiff’s

  counsel’s burden argument is undercut by the fact that Plaintiff was able to fully

  comply with the Stipulated Protective Order as to other documents, as

  demonstrated by Plaintiff’s successful motion to seal the 2019 Oh Transcript.

  Although not entirely clear from the briefing, to the extent Plaintiff’s argues that

  counsel’s actions were substantially justified because Plaintiff paid for the

  production of documents, the Court is unpersuaded because the cost of discovery is

  entirely unrelated to the present dispute. See ECF No. 171 at 7 n.1; ECF No. 171-

  1 ¶ 11.

               Although the Court finds that Plaintiff’s counsel’s failure to comply

  with the Stipulated Protective Order was not substantially justified, the Court finds

  that other circumstances made an award of expenses unjust. See Fed. R. Civ. P.

  37(b)(2)(C). As noted by Plaintiff, as soon as Defendants brought the issue related

  to the Sensley Declaration to counsel’s attention, Plaintiff filed a motion seeking to

  remove the document from the public docket and to file the confidential portions

  under seal. See ECF No. 171 at 4; ECF No. 162. As noted by the district court in

  denying that motion, these documents have been publicly available since February

  2020 and Defendant Oh’s employment has been terminated. See ECF No. 168.

  Although Plaintiff’s counsel violated the terms of the Stipulated Protective Order,

  there is no evidence that he did so in bad faith, and in fact, he acted in good faith

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  by immediately removing his social media posts and filing the motion to seal. See

  Hyde & Drath, 24 F.3d at 1171 (“While a finding of bad faith is not a requirement

  for imposing sanctions, good or bad faith may be a consideration in determining

  whether imposition of sanctions would be unjust.”). In light of these

  circumstances, the Court finds that an award of expenses would be unjust.

               Finally, the Court finds that a formal warning to Plaintiff’s counsel

  that monetary sanctions will be imposed if the Stipulated Protective Order is again

  disobeyed is sufficient for the misconduct at issue and under the circumstances.

                                    CONCLUSION

               The Court GRANTS IN PART AND DENIES IN PART Defendants

  City and County of Honolulu and Thayne Costa’s FRCP Rule 37 Motion for

  Sanctions Against Plaintiff for Violation of the Stipulated Protective Order as

  detailed above. Plaintiff’s counsel is formally warned that monetary sanctions will

  be imposed if he disobeys the Stipulated Protective Order again.

               IT IS SO ORDERED.

               DATED, HONOLULU, HAWAII, JULY 23, 2020.




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  00116 LEK-WRP; ORDER GRANTING IN PART AND DENYING IN PART
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